           Case 1:21-cv-10393-JMF Document 27 Filed 05/03/22 Page 1 of 1




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
                                                 x
   CARMEN TAVAREZ-VARGAS,                        : Case No.: 1:21-cv-10393-JMF
  Individually, and On Behalf of All Others      :
  Similarly Situated,                            :
                                                 :
                               Plaintiff,        : NOTICE OF VOLUNTARY DISMISSAL
         vs.                                     :
                                                 :
                                                 :
                                                 :
  FLY NYON LLC,
                                                 :
                                                 :
                               Defendant.
                                                 :
                                                 x


         Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff

  Carmen Tavarez-Vargas hereby gives notice that the above-captioned action is voluntarily

  dismissed, with prejudice against defendant Fly Nyon LLC.

  DATED: May 2, 2022                          MIZRAHI KROUB LLP


                                                               /s/ EDWARD Y. KROUB
                                                              EDWARD Y. KROUB
SO ORDERED.
                                              EDWARD Y. KROUB
                                              JARRETT S. CHARO
                                              WILLIAM J. DOWNES
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May 3, 2022
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